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                              IN THE
                  UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

CONSUMERS’ RESEARCH, CAUSE )
BASED COMMERCE, INC., EDWARD )
J. BLUM, KERSTEN CONWAY,     )
SUZANNE BETTAC, ROBERT KULL, )
KWANG JA KIRBY, TOM KIRBY,   )                                       RECEIVED
JOSEPH BAYLY, JEREMY ROTH,   )
                                                                  Mar 29, 2024
DEANNA ROTH, LYNN GIBBS,     )
PAUL GIBBS, and RHONDA       )
THOMAS,                      )
                             )
               Petitioners,  )
                             )
          v.                 )                          60160
                                                 No. 24-_______
                             )
FEDERAL COMMUNICATIONS       )
COMMISSION and THE UNITED    )                   Agency CC Docket No. 96-45
STATES OF AMERICA,           )                   Agency No. DA-24-257
                             )
               Respondents.  )

                           PETITION FOR REVIEW

      Pursuant to 5 U.S.C. § 706, 47 U.S.C. § 402, 28 U.S.C. §§ 2342–2344, and

Federal Rule of Appellate Procedure 15(a), Consumers’ Research, Cause Based

Commerce, Inc., Edward J. Blum, Kersten Conway, Suzanne Bettac, Robert Kull,

Kwang Ja Kirby, Tom Kirby, Joseph Bayly, Jeremy Roth, Deanna Roth, Lynn

Gibbs, Paul Gibbs, and Rhonda Thomas (collectively, “Petitioners”) hereby petition

this Court for review of the United States Federal Communications Commission’s

(“FCC”) approval (“Approval”) of the Proposed Second Quarter 2024 Universal


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Service Contribution Factor, CC Docket No. 96-45, DA-24-257 (rel. Mar. 14, 2024)

(“Proposed USF Tax Factor”), and for review of the Proposed USF Tax Factor. A

copy of the Proposed USF Tax Factor is attached as Exhibit A. As explained below,

no separate document was issued when the Proposed USF Tax Factor was deemed

approved by the FCC on the expiration of March 28, 2024.

      On February 5, 2024, Petitioners submitted to the FCC their objections

explaining why the proposed tax is illegal and should be rejected. The Proposed USF

Tax Factor was released on March 14, 2024. On March 18, 2024, Petitioners again

submitted to the FCC their objections explaining why the proposed tax is illegal and

should be rejected. Pursuant to 47 C.F.R. § 54.709(a)(3), “[i]f the Commission

take[s] no action within fourteen (14) days of the date of release of the public notice

announcing the projections of demand and administrative expenses, the projections

of demand and administrative expenses, and the contribution factor shall be deemed

approved by the Commission.” 47 C.F.R. § 54.709(a)(3). The FCC took no action

within 14 days of the March 14 release date, and accordingly the Proposed USF Tax

Factor was “deemed approved by the Commission” at the expiry of March 28, 2024.

      This Petition is timely filed. “Any proceeding to enjoin, set aside, annul, or

suspend any order of the Commission under this chapter (except those appealable

under subsection (b) of this section) shall be brought as provided by and in the

manner prescribed in chapter 158 of title 28.” 47 U.S.C. § 402(a). Chapter 158 of


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Title 28 provides: “Any party aggrieved by the final order may, within 60 days after

its entry, file a petition to review the order in the court of appeals wherein venue

lies.” 28 U.S.C. § 2344. The FCC’s regulation on filing petitions seeking review of

FCC action, see 47 C.F.R. 1.13, states that the clock starts on “the date of public

notice as defined in [47 C.F.R.] § 1.4(b),” but § 1.4(b) does not appear to cover the

scenario where a proposal is “deemed approved” by the FCC without a separate

action, as occurred here. It is standard administrative practice, however, that in such

scenarios the petition deadline starts to run upon the date when the action was

deemed approved. See, e.g., Allegheny Def. Project v. FERC, 964 F.3d 1 (D.C. Cir.

2020) (en banc). In an abundance of caution, however, Petitioners have filed this

Petition within sixty days of both the release date of the Proposed USF Tax Factor

and the FCC’s subsequent Approval—rendering this Petition timely under any view.

      To date, no court has addressed the validity of this particular Approval or

Proposed USF Tax Factor. Jurisdiction and venue are proper under 47 U.S.C. § 402

and 28 U.S.C. §§ 2342 and 2343, because Petitioners are adversely affected by

actions challengeable under 28 U.S.C. § 2342, see also 5 U.S.C. § 551(13), and

because Petitioners Kersten Conway (League City, Texas), Suzanne Bettac (San

Antonio, Texas), Robert Kull (San Antonio, Texas), Kwang Ja Kirby (San Antonio,

Texas), and Tom Kirby (San Antonio, Texas) reside in this Circuit, see 28 U.S.C.

§ 2343.


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      Petitioners seek review of the Approval and the Proposed USF Tax Factor on

the grounds that they exceed the FCC’s statutory authority and violate the

Constitution and other federal laws, including:

      (1)    Congress’s standardless delegation to the FCC of legislative authority

to raise and spend nearly unlimited money via the Universal Service Fund violates

Article I, section 1 of the U.S. Constitution.

      (2)    To the extent Congress permitted the FCC to re-delegate (or de facto

re-delegate) to a private company the authority to raise and spend nearly unlimited

money via the Universal Service Fund, Congress unconstitutionally delegated its

legislative power to a private entity—the Universal Service Administrative

Company (“USAC”)—in contravention of Article I, section 1 of the Constitution.

      (3)    The revenues raised for the Universal Service Fund pursuant to 47

U.S.C. § 254 are taxes and therefore Congress’s standardless delegation to the FCC

of authority to raise and spend nearly unlimited taxes violates Article I, section 8 of

the U.S. Constitution.

      (4)    To the extent Congress permitted the FCC to re-delegate (or de facto

re-delegate) to USAC the authority to raise and spend nearly unlimited taxes for

FCC-defined “universal service,” Congress unconstitutionally delegated its taxing

power to a private entity in contravention of Article I, section 8 of the Constitution.




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And the FCC subsequently delegated its Article II executive power to a private

entity, also in violation of the Appointments Clause.

      (5)      To the extent Congress did not to permit the FCC to delegate to a private

company the authority to raise and spend nearly unlimited money for FCC-defined

“universal service,” the FCC’s subsequent re-delegation to USAC is beyond the

FCC’s lawful statutory authority, regardless of whether the charges are deemed to

be “taxes.”

      (6)      If USAC is determined not to be a private entity, and to the extent

Congress permitted the FCC Chair to appoint USAC board directors, Congress and

the FCC violated the Constitution’s Appointments Clause.

      (7)      To the extent Congress did not statutorily permit the FCC Chair to

appoint USAC board directors, the FCC has acted in excess of its statutory authority

in doing so.

      (8)      The USF Tax Factor is a binding legislative rule, but the FCC did not

comply with the APA’s requirements for rulemaking, nor with the Federal Register

Act’s requirements for publication.

      (9)      The FCC’s action and inaction are otherwise contrary to law.

      Petitioners reserve the right to modify, add, or abandon grounds.




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      Petitioners respectfully request that this Court (1) grant the Petition and hold

that the Approval and the Proposed USF Tax Factor are unlawful; (2) vacate, enjoin,

and set them aside; and (3) provide such other relief as this Court deems appropriate.

Dated: March 29, 2024                           Respectfully submitted,

                                                /s/ R. Trent McCotter

                                                R. TRENT MCCOTTER
                                                  Counsel of Record
                                                JONATHAN BERRY
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                            CERTIFICATE OF SERVICE

      I certify that on March 29, 2024, the foregoing Petition for Review was

electronically filed with the United States Court of Appeals for the Fifth Circuit

using the CM/ECF system.

      I further certify that I will timely email a copy of the date-stamped Petition to

LitigationNotice@fcc.gov. See 47 C.F.R. § 1.13(a)(1).

      I will also cause a copy of the date-stamped Petition to be sent via certified

mail to:

      U.S. Attorney General
      U.S. Department of Justice
      950 Pennsylvania Ave., N.W.
      Washington, D.C. 20530

      Marlene H. Dortch, Secretary
      Federal Communications Commission
      Office of the Secretary
      45 L Street NE
      Washington, DC 20554

                                       Respectfully submitted,

                                       /s/ R. Trent McCotter

                                       Counsel for Petitioners




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                      Ex. A
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    PUBLIC NOTICE
     Federal Communications Commission                                                News Media Information 202 / 418-0500
     45 L St., N.E.                                                                            Internet: http://www.fcc.gov
     Washington, D.C. 20554                                                                            TTY: 1-888-835-5322




                                                                                                  DA 24-257
                                                                                    Released: March 14, 2024

                Proposed Second Quarter 2024 Universal Service Contribution Factor

                                             CC Docket No. 96-45

        In this Public Notice, the Office of Managing Director (OMD) announces that the proposed
universal service contribution factor for the second quarter of 2024 will be 0.328 or 32.8 percent.1

Rules for Calculating the Contribution Factor

         Contributions to the federal universal service support mechanisms are determined using a
quarterly contribution factor calculated by the Federal Communications Commission (Commission).2
The Commission calculates the quarterly contribution factor based on the ratio of total projected quarterly
costs of the universal service support mechanisms to contributors’ total projected collected end-user
interstate and international telecommunications revenues, net of projected contributions.3

USAC Projections of Demand and Administrative Expenses

       Pursuant to section 54.709(a)(3) of the Commission’s rules,4 the Universal Service
Administrative Company (USAC) submitted projections of demand and administrative expenses for the
second quarter of 2024.5 Accordingly, the projected demand and expenses are as follows:




1 See 47 CFR § 54.709(a).


2 See id.


3 See 47 CFR § 54.709(a)(2).


4 See 47 CFR § 54.709(a)(3).


5 See Federal Universal Service Support Mechanisms Fund Size Projections for the Second Quarter 2024, available

at https://www.usac.org/fcc-filings (filed February 1, 2024) (USAC Filing for Second Quarter 2024 Projections; see
also Federal Universal Service Support Mechanisms Quarterly Contribution Base for the Second Quarter 2024,
available at https://www.usac.org/fcc-filings (filed March 1, 2024) (USAC Filing for Second Quarter 2024
Contribution Base).
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                                                     ($ millions)

            Program Demand              Projected            Admin.       Application of   Total Program
                                        Program             Expenses       True-Ups &       Collection
                                         Support                           Adjustments       (Revenue
                                                                                           Requirement)
          Schools and Libraries            631.45               24.15         (3.24)           652.36
            Rural Health Care              161.73                8.86         (0.56)           170.03
                High-Cost                1,109.50               21.78         (30.37)        1,100.91
                 Lifeline                  297.49               20.55        (148.83)          169.21
             Connected Care                    0                  0              0                 0
                 TOTAL                   2,200.17               75.34        (183.00)         2,092.51

USAC Projections of Industry Revenues

        USAC submitted projected collected end-user telecommunications revenues for April 2024
through June 2024 based on information contained in the Second Quarter 2024 Telecommunications
Reporting Worksheet (FCC Form 499-Q).6 The amount is as follows:

        Total Projected Collected Interstate and International End-User Telecommunications Revenues
        for Second Quarter 2024: $8.555642 billion.

Adjusted Contribution Base

        To determine the quarterly contribution base, we decrease the second quarter 2024 estimate of
projected collected interstate and international end-user telecommunications revenues by the projected
revenue requirement to account for circularity and decrease the result by one percent to account for
uncollectible contributions. Accordingly, the quarterly contribution base for the second quarter of 2024 is
as follows:


        Adjusted Quarterly Contribution Base for Universal Service Support Mechanism

        (Second Quarter 2024 Revenues - Projected Revenue Requirement) * (100% - 1%)

                 = ($8.555642 billion – $2.092510 billion) * 0.99


6 USAC Filing for Second Quarter 2024 Contribution Base at 4.


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                                   =$6.398501 billion.

Unadjusted Contribution Factor

        Using the above-described adjusted contribution base and the total program collection (revenue
requirement) from the table above, the proposed unadjusted contribution factor for the second quarter of
2024 is as follows:

        Contribution Factor for Universal Service Support Mechanisms

                 Total Program Collection / Adjusted Quarterly Contribution Base

                          =$2.09251 billion / $6.398501 billion

                                   =0.327031

Unadjusted Circularity Factor

        USAC will reduce each provider’s contribution obligation by a circularity discount
approximating the provider’s contributions in the upcoming quarter. Accordingly, the proposed
unadjusted circularity factor for the second quarter of 2024 is as follows:

        Unadjusted Circularity Factor for Universal Service Support Mechanisms

        = Total Program Collection / Projected Second Quarter 2024 Revenues
        = $2.092510 billion / $8.555642 billion
        = 0.244577

Proposed Contribution Factor

        The Commission has directed OMD to announce the contribution factor as a percentage rounded
up to the nearest tenth of one percent.7 Accordingly, the proposed contribution factor for the second
quarter of 2024 is as follows:

7 See Federal-State Joint Board on Universal Service, 1998 Biennial Regulatory Review – Streamlined Contributor

Reporting Requirements Associated with Administration of Telecommunications Relay Service, North American
Numbering Plan, Local Number Portability, and Universal Service Support Mechanisms, Telecommunications
Services for Individuals with Hearing and Speech Disabilities, and the Americans with Disabilities Act of 1990,
Administration of the North American Numbering Plan and North American Numbering Plan Cost Recovery
Contribution Factor and Fund Size, Number Resource Optimization, Telephone Number Portability, Truth-in-
Billing and Billing Format, CC Docket Nos. 96-45, 98-171, 90-571, 92-237, 99-200, 95-116, 98-170, Order and
Second Order on Reconsideration, 18 FCC Rcd 4818, 4826, para. 22 (2003) (Second Order on Reconsideration).

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                                       32.8%

Proposed Circularity Discount Factor

         The Commission also has directed OMD to account for contribution factor rounding when
calculating the circularity discount factor.8 Accordingly, the proposed circularity factor for the second
quarter of 2024 is as follows:

                                    0.2468089

Conclusion

         If the Commission takes no action regarding the projections of demand and administrative
expenses and the proposed contribution factor within the 14-day period following release of this Public
Notice, they shall be deemed approved by the Commission.10 USAC shall use the contribution factor to
calculate universal service contributions for the second quarter of 2024. USAC will reduce each
provider’s contribution obligation by a circularity discount approximating the provider’s contributions in
the upcoming quarter.11 USAC includes contribution obligations less the circularity discount in invoices
sent to contributors. Contribution payments are due on the dates shown on the invoice. Contributors will
pay interest for each day for which the payments are late. Contributors failing to pay contributions in a
timely fashion may be subject to the enforcement provisions of the Communications Act of 1934, as
amended, and any other applicable law. In addition, contributors may be billed by USAC for reasonable
costs of collecting overdue contributions.12

        We also emphasize that carriers may not mark up federal universal service line-item amounts
above the contribution factor.13 Thus, carriers may not, during the second quarter of 2024, recover
through a federal universal service line item an amount that exceeds 32.8 percent of the interstate
telecommunications charges on a customer’s bill.



8 Id.


9 The proposed circularity discount factor = 1 + [(unadjusted circularity discount factor – 1) * (unadjusted

contribution factor / proposed contribution factor)]. The proposed circularity discount factor is calculated in a
spreadsheet program, which means that internal calculations are made with more than 15 decimal places.
10 See 47 CFR § 54.709(a)(3).


11 USAC will calculate each individual contributor’s contribution in the following manner: (1-Circulatory Factor) *

(Contribution Factor*Revenue).
12 See 47 CFR § 54.713.


13 See 47 CFR § 54.712.


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          In addition, under the limited international revenues exception (LIRE) in section 54.706(c) of the
Commission’s rules, a contributor to the universal service fund whose projected collected interstate end-
user telecommunications revenues comprise less than 12 percent of its combined projected collected
interstate and international end-user telecommunications revenues shall contribute based only on
projected collected interstate end-user telecommunications revenues, net of projected contributions.14 The
rule is intended to exclude from the contribution base the international end-user telecommunications
revenues of any entity whose annual contribution, based on the provider’s interstate and international end-
user telecommunications revenues, would exceed the amount of its interstate end-user revenues.15 The
proposed contribution factor exceeds 12 percent, which we recognize could result in a contributor being
required to contribute to the universal service fund an amount that exceeds its interstate end-user
telecommunications revenue. Should a contributor face this situation, the contributor may petition the
Commission for waiver of the LIRE threshold.16

       For further information, contact Thomas Buckley at (202) 418-0725 or Kim Yee at (202) 418-
0805, TTY (888) 835-5322, in the Office of Managing Director.




14 See 47 CFR § 54.706.


15 See Federal-State Joint Board on Universal Service, Sixteenth Order on Reconsideration, CC Docket No. 96-45,

Eighth Report and Order, CC Docket No. 96-45, Sixth Report and Order, Docket No. 96-262, 15 FCC Rcd 1679,
1687-1692, paras. 17-29 (1999) (Fifth Circuit Remand Order).
16 Generally, the Commission’s rules may be waived for good cause shown.         47 CFR § 1.3. The Commission may
exercise its discretion to waive a rule where the particular facts make strict compliance inconsistent with the public
interest. Northeast Cellular Telephone Co. v. FCC, 897 F.2d 1164, 1166 (D.C. Cir. 1990) (Northeast Cellular). In
addition, the Commission may consider considerations of hardship, equity, or more effective implementation of
overall policy on an individual basis. WAIT Radio v. FCC, 418 F.2d 1153, 1159 (D.C. Cir. 1969); Northeast
Cellular, 897 F.2d at 1166. Waiver of the Commission’s rules is therefore appropriate only if special circumstances
warrant a deviation from the general rule, and such deviation will serve the public interest. Northeast Cellular, 897
F.2d at 1166; 47 CFR § 54.802(a).

                                                          5
